Case 1:12-md-02358-JDW Document 28

Filed 08/28/12 Page 1 of 27 PagelD #: 361

UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE

IN RE GOOGLE INC. COOKIE PLACEMENT
CONSUMER PRIVACY LITIGATION

This Document Relates To:
All Actions

C.A. No. 12-MD-02358 (SLR)

NOBLES v. GOOGLE INC. and POINTROLL, INC.

C.A. No. 12-CV-01000 (SLR)

DOGGA and BERMUDEZ v. GOOGLE INC,

C.A, No. 12-CV-01003 (SLR)

MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
CONSOLIDATION PURSUANT TO FED. R, CTY. P. 42(a) AND APPOINTMENT
OF INTERIM CLASS COUNSEL PURSUANT TO FED. R. CIV. P. 23(g)

KEEFE BARTELS, LLC

Stephen G. Grygiel (Del. Bar No. 4944)
John E. Keefe, Jr.

Jennifer L. Harwood

170 Monmouth St.

Red Bank, NJ 07701

732-224-9400
sgrygiel@keefebartels.com

Counsel for Plaintiff Ana Yngelmo, Plaintiff
Larry Sossin and Proposed Executive Committee
Member

BARTIMUS, FRICKLETON,
ROBERTSON & GORNY, P.C.
James P. Frickleton

Mary D. Winter

Stephen M, Gorny

Edward D. Robertson, Jr.

11150 Overbrook Road, Suite 200
Leawood, KS 66211
913-266-2300

jJimf@bflawfirm.com

Counsel for Plaintiff James Henry Rischar and
Proposed Executive Committee Member

DATED: AUGUST 28, 2012

STRANGE & CARPENTER

Brian Russell Strange

Keith Butler

David Holop

12100 Wilshire Boulevard, Suite 1900
Los Angeles, CA 90025
310-207-5055

lacounsel@earthlink, net

Counsel for Plaintiff Lourdes Villegas and
Proposed Executive Committee Member

STEWARTS LAW US LLP

David A. Straite (Del. Bar No. 5428)
Ralph N. Sianni (Del. Bar No. 4151)
Michele S, Carino (Del. Bar No. 5576)
Lydia E. York (Del. Bar No. 5584)

1201 North Orange Street
Wilmington, DE 19801

302-298-1200
dstraite@stewartslaw.com

Counsel for Plaintiffs Matthew Soble and Bert
Glaser, Proposed Steering Committee Member
and Proposed Liaison Counsel

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 2 of 27 PagelD #: 362

TABLE OF CONTENTS
TABLE OF AUTHORITIES v.sscccsssssssssssesssssssssssssessssssusecssssscsssesessssseseeeseessassveseessssnenesssssssssesessesee ii
I. INTRODUCTION oo.esccssssesessssssssseessssssssseseessssssssssssessssssssvssessssssunasensssseeesssssssvenenesssnssseseesesees I
TL FACTUAL BACKGROUND... essssssssssseescsssssusseessssssussssseesssssesssessssuseessssssneseeesssnsnseesessssnin 2
Il. STATEMENT OF STAGE OF THE PROCEEDINGS, L.R. 7.1.3(c)(1)(C)eesssessescccsseeen 3
TV. SUMMARY OF ARGUMENT, L.R. 7.1.3(C)(L)(D) vssssesscssssssssessessssssesseesssssseessenssssnnnessees 4

A. Dogga and Nobles Should be Consolidated with the MDL for Ail Pretrial Purposes
Pursuant to Ruke 42a). occ ecccceseceeseseeseeeeeecseeceeeneeceseeseesssneseassesiaeseenensereaseessseerseeessasees 4

B. The Proposed Leadership Structure Is In the Best Interests of the Putative Class........ 6

C. Appointing Interim Lead Class Counsel is Appropriate Under Rule 23(g) and Will
Protect the Interests of the Putative Plaintiff Class 0.0.0... ceeerseseeteetaeeeesaeoeenees 9

D. Proposed Interim Class Counsel Will Fairly and Adequately Represent the Interests

of Plaintiffs and the Putative Class... cesses eseseesserseecesereneeceeeereseerepenessseeeneaneces 10
E. Brief Introduction to Proposed Leadership Firms... ices ees eeseeeteesteeeenenanenes 12
F. Proposed Leadership Group Fully Satisfies 23(g) Criteria wo. ccs eeerneresees 15
1. Counsel’s Work to Identify or Investigate Potential Claims... ccc ceeseeeereees 15

2, Counsel’s Experience in Handling Class Actions, Other Complex Litigation and

Claims of the Type Asserted in this Case. oo... cccesecesscereerneesteseecessessasteeeteans 16

3. Counsel’s Knowledge of Applicable Law... .cc cece reeserseestneneesaereereees 19

4. Counsel Pledge Resources Properly to Represent the Class 0... ccs eee: 19

V. CONCLUSION, LR. 7.1. 3(C)(1(G) wee cee eeeceseceeeeeee reese eneraecesensecasnssenensresaserecssenseganseenessones 20

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 3 of 27 PagelD #: 363

TABLE OF AUTHORITIES

Cases

Alston v. Countrywide Fin. Corp. v. Countrywide, 585 F.3d 783 3d Cir. 2009) ......ceeeseereseee 11
Ashcroft v. Iqbal, 556 U.S, 662 (2009)... ccccccsesssessresssecssscrsesnescsessnessasssaessnegresseessseenecansesasents 17
Baldwin County Welcome Ctr. v. Brown, 466 ULS. 147 (1984) occ eceesensssecettesenaseateeneeatenes 17
Behrend v. Comcast Corp., 655 F. 3d 182 (3d Cir. 2011)... ccecessssessecsseeseserscessessenensssenseessrerene 16
Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)... cs cecccssesscssensssescsessesssssessnesesstssseessesesenees 17
Bennett v. Spear, 520 U.S. 154 (1997) occ cecsceseeeeeneeeessecteeneeseeseeseegceneaseaeseeeeaseensqecseessenesaeees 11

Bhunofe v. Pharmatrak, Inc. (In re Pharmatrak Priv. Litig.), 329 F.3d 9 (1st Cir. 2003). ...........16
Claridge v. RockYou, Inc., 785 F. Supp. 2d 855 (N.D. Cal. 2011)... cc ccccssssessesesssessseeesssesneraes 16
Dutton v, Harris Stratex Networks, Inc., Civ. No, 08-755, 2009 WL 1598408 (D. Del. 2009)......4

Edwards y. First American Corp., 610 F.3d 514 (9th Cir, 2010), cert granted in part, 1318. Ct.

3022 (2011), cert dismissed as improvidently granted, 132 8S. Ct. 2536 (2012) veces i]
Gaos v. Google, Ine., 2012 WL 1094646 (N.D. Cal. Mar. 29, 2012) eects ceeeeeteetteeeeeeee 1]
Golod v, Bank of America, 2009 WL 1605309 (D. Del, June 4, 2009)... ec cctetscsteesesessereeees 17
Harrington y. City of Albuquerque, 222 F.R.D, 505 (D.NM. 2004) oo... ccccccecsectesserceseseersseereers 14
Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) oie eeecceeeceeeeeeeseeeneetaneassaeeasseneaeteteneens 1
In re Dollar Thrifty Shareholder Litig., Case No. S458-VCS oo ccecscccesseteceerseetaneseeeeasensteetenss 12
Inve DRAM Antitrust Litig., 2006 U.S. Dist. LEXIS 39841 (N.D. Cal., June 5, 2006)... 7
In re Facebook Internet Tracking Litig., No, 5:12 md-02314- EJD (N.D, Cal., Davila, J.) .....7, 13
Inve Hulu Privacy Litig., No. C11-03764-LB (N.D. Cal., Beeler, Mag. J.) ccesceceecreees 7,12
In Re Hydrogen Peroxide Antitrust Litig., 240 F.R.D. 163 (ELD. Pa. 2007) ee eee teeeeeteeees 7
In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305 (3d Cir, 2008)... cceeceeseseeetsesenetenees 16

ii

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 4 of 27 PagelD #: 364

Inre Intel Corp. Microprocessor Antitrust Litig., MDL No. 05-1717 (D. Del. Apr. 18, 2006) .....7
In re LIBOR-Based Financial Instruments Antitrust Litigation, 11-MD-2262 (NRB), 2011 U.S.
Dist. LEXTS 137242 (S.D.NLY. Nov. 29, 2011). eecesesseseeeteeseeseeeacerseeessessseseeeseneteneeeeeaeeags 10
Inve Oxford Health Plans, Inc. Sec. Litig., 182 F.R.D. 42 (S.D.NCY. 1998) eee trteereeeee 7
In re Rite Aid Corp. Sec. Lifig., 396 F.3d 294 Gd Cir. 2005) oe esse etteseseescenterserastesereseesersereees 4
In re Schering-Plough Corp. Temodar/Intron Consumer Class Action, Case Nos. 10-3046 & 10-
BOAT oo eeeccscsencsscscessensssssecsevsasenecaseesscaetseescessdsnassaaeecseeaeteseseecssesaeessnesessseasnedsadeseasenaseeasseaseeseaenoeses 12
Inre Sony Gaming Networks and Customer Data Security Breach Litig., MDL No, 2258 ........ 12

In Re: Polyurethane Foam Antitrust Litig., pending in the United States District Court for the
Northern District of Ohio, MDL No. 2196 wi. cccccccscccecetsvesteresessessesecerssssseeusssssersssnesersrerseteee 2

Johnson y. Celotex Corp., 899 F.2d 1281 (2d Cir. 1990) eee ceesseeseeteeeeeeaeseeseeeteeseseeeeeaeeaes 5
Joint Stock Society v. UDV North America, Inc., 266 F.3d 164 (3d Cir, 2001) oo... cece cseees \1
King v. VeriFone, 994 A.2d 354 (Del. Ch. Ct. 2010) oe eee eeeeeseeseeeneereeecseesenerenesseseenersneeseees 10
Konop v. Hawatian Airlines, Inc., 302 F. 3d 868 (9th Cir, 2002) wcccccceseccessecserreneneesesesenrees 8
Lewis vy. Alexander, 685 F.3d 325 (3d Cir. 2012)... cccecseescceteeeseetseteeceeesseaseeeseatseetaseneetameersaesaees 11
Linda R. S. v. Richard D., 410 U.S, 614 01.3 (1973) oc cccccsccssccseesseeseesseesenessnaseeecsaneeneeensasenarenees li
Low y. LinkedIn Corp., 2012 WL 2873847 (N.D. Cal. July 12, 2012) oo. ceeseeseeteeeteeerectiees 15
Malasky v, [AC/Interactive Corp., 2004 U.S. Dist. Lexis 25832 (S.D.N.Y. Dec. 21, 2004).......... 7
Mariana v. Fisher, 338 F.3d 189 (3d Cir, 2003) vic ccecssseteestssecessseescesceneaesnesseesaessesaseaceaeeaeeaee 11
Outten v. Wilmington Trust Corp., 281 F.R.D. 193 (D. Del. 2012) i eeeeseteeerseeeereeneees 6, 10
Phillips v. Cty of Allegheny, 515 F. 3d 224 (3d Cit. 2008) oo. cece escsesseeeeceeeeneneretrsseseersnerenaees 17
Pirelli Armstrong Tire Corp. Retiree Med. Benefits Trust vy. LaBranche & Co., Inc., 229 F.R.D.
395 (S.D.N.Y. 2004). occ cceseecseeeeneceeeseesseceescaeerssesaesecieeseeessarseeteeseevasbecserseresesseenteneseessenesnenensess 7
Resnik v. Woertz, 774 F. Supp. 2d 614 (D. Del. 2011) cuss ceserenerseeetrernseerseeteemenrenerertnee 4
U.S. v. Councilman, 418 F. 3d 67 (1st Cir. ef banc, 2005)... ccscccssecessecscseesnereetseesseesceeneensenes 16

iti

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 5 of 27 PagelD #: 365

U.S. v. Knauer, 149 F.2d 519 (7th Cir, 1945), certiorari granted, 326 U.S. 714, aff'd, 328 US.

654, reh’g denied, 329 U.S, 818, petition denied, 322 U.S. 834 .ccicccccccscccssccsssscesessssserseeserees 4
US. v. Smith, 155 F.3d 1051 (9th Cir, 1998), icccccscssseesesssessesseessesseescessesseesecsesssssseeesssseeessesenvass 8
Vincent v. Hughes Air West, Inc., 557 F.2d 759, 773 (9th Cir, 1977) uu. .cesccccesscsessesesrenersesersseans 4,5
Warth v. Seldin, 422 U.S. 490 (1975). .ceecsssesssesseeesesceeseeesssessaesenseessnscsesseesessseneseacaeseresenansaressesses 1
Statutes
28 ULS.C. § LAL i isctesenscerseneeseessseseceecetsesseecsecsesssensenaseaseaseessecsssseesecssessssassaacargpasesatsesuecees 3
28 US.C. § L407 cceesssssssccsseseccsesseenesseecseseneneesteescsseneseessaeseeesseeeseseecseneeessencansasnaeastansasesiseesserees 3
Other Authorities
MANUAL For COMPLEX LITIGATION (FOURTH) § 11.631 (2004)... ccccecccceescsssceeersseeeneesereee 4,6, 9
THIRD Cin. TASK FORCE REPORT ON SELECTION OF CLASS COUNSEL, 208 F.R.D. 340 (2002)....... 6
Rules
Fed. Ry Civ. Po Lice cc cesecceseessessesssesseessenssserssssvaceauscaescsensacsasssegavsssessesessssesesasassesseaesseesesaeseseavsrsesasaes 2
Fed, R, Civ, P. 23(B)(2) wcsssscsscscscescsssscecsesseessccsesecsssressaestssssseesaessesaeseseesecaeseesssassesssansasaeeessassageesenes I
Fed, R. Civ, P. 23(2)(3) .eeeecsseseesseesvenseserceeeneceneneeeseuseesseecseesseenecssaeaeaesaseaenacseseacateeaeecsensssansrsestarers 9
Fed. R. Civ. P. 23(2)(4) once ecesececesetceeeseseteeseseseeescsenacsesenesseasrsagsenesasseensesseverassseesavevscesessecatavensteesseaees 9
Fed. R. Cry. P. 42 (a) cece ececeeccessecsevssseesseeseceseesacsecaessasseseaesssssaeseesceesseseesenessaseesensssasaseeeseaeuaseees 1,5

iv

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 6 of 27 PagelD #: 366

I INTRODUCTION

Twenty-four similar purported class actions have been related and transferred to this
Court by the United States Judicial Panel on Multidistrict Litigation (“JPML”) or otherwise
accepted as related by order of this Court.' All 24 Related Actions are on behalf of similarly
situated plaintiffs, seek to represent substantially the same class of people, are based on similar
factual allegations, and, with some differences, allege essentially the same legal claims. All of
the actions allege claims against Google Inc. (“Google”). Two also allege claims against
PointRoll, Inc. (“PointRoll”), which, Plaintiffs allege, provided a “cookie helper script [that]
circumvents Safari’s cookie blocking.” Five assert claims against “Doe” defendants. The
Court has already consolidated 22 of the 24 Related Actions, Two additional actions, Dogga and
Bermudez vy. Google Inc., C.A. No. 3:12-cv-01046 (D. Conn.) (MDL D.I. 20), and Nobles v.
Google, Inc, and PointRoll, Inc., C.A. No. 12-cv-03589 (N.D. Cal.) (MDL D.L. 23), were only
recently transferred to this Court. The plaintiffs in 16 of these 24 Related Actions (collectively,
the “Moving Plaintiffs”)’ move this Court for an order:

(1) Consolidating Dogga and Nobles with Jn re Google Inc. Cookie Placement

Consumer Privacy Litig. (hereinafter the “MDL’”) for all pretrial purposes

pursuant to Fed. R. Civ. P, 42(a);

' See Exhibit A, attached (hereinafter the “Related Actions”).

? See Villegas v. Google, Ine. and PointRoll, inc. (filed by Strange & Carpenter, one of the
prospective Executive Committee members); Nobles v. Google, Inc. and PointRoll, Inc.

3 See Burdick v. Googie, Inc., and Does I through 10; Gourley v. Google, Inc. and Does 1
through 10; Martorana v. Google, Inc. and Does | through 10; Movitz v. Google, Inc. and John
Does 1 through 10; Rischar v. Google, Inc. and Does I through 10.

4 The Moving Plaintiffs are the plaintiffs in the cases identified in Attachment A to the Motion
for Consolidation and Appointment for Interim Class Counsel and in the signature blocks below.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 7 of 27 PagelD #: 367

(2) Appointing Interim Class Counsel pursuant to Fed. R. Civ. P. 23(g)(2); and
(3) Setting a deadline of Monday, October 22, 2012 for the filing of a Consolidated
Class Action Complaint.

Moving Plaintiffs bring this motion on the following grounds: (1) the Actions are
substantially identical; consolidating them will promote efficiency for the court, litigants and
counsel; and (2) Moving Plaintiffs’ proposed leadership structure will competently and
vigorously represent all plaintiffs and putative class members, promote efficiency, and advance
“the just, speedy and inexpensive determination” of the Actions. Fed. R. Civ. P. 1.

i. FACTUAL BACKGROUND

Moving Plaintiffs will not burden the Court with a detailed recitation of what appears in
the many complaints already on file, Summarizing, Apple’s Safari browser acts as a privacy
control in its default setting by blocking cookies’ from sites other than the site being visited.
Plaintiffs centrally allege that Google purposefully circumvented Safari’s privacy settings by
writing code permitting Google to track users’ behavior on non-Google sites without the users’
consent. This tracking contradicted Google’s own statements to users. For example, Google’s
Terms of Service, as of March |, 2012, stated: “We believe that you own your own data and
preserving your access to such data is important.” Precept No. 6 of Google’s Ten
Commandments (“Ten Things We Know to Be True”) says: “You can make money without
doing evil.”

Google’s dismantling of the Safari cookie blocker was, Plaintiffs allege, deliberate, in

part resulting from Google’s competition with Facebook. Facebook came up with the “Like”

> Simplifying substantially, cookies store information such as user preferences, and session
information, for example whether an internet user on a shopping spree has items in the cyber
shopping cart. Another way to think usefully about “cookies” is as small bits of data sent
between internet browsers and websites.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 8 of 27 PagelD #: 368

Button. Google wanted to compete with that “Like” button. Google added a “+1” button to
select Google ads, Googlet+ users could click that button to show they “liked” those ads. But,
Google had a substantial technical problem. Googlet+ and Google Ads were on separate
“domains.” Interfacing between these two separate domains required use of third party cookies.
But Safari blocks these third party cookies by default.

Google’s problem was that most Safari users, a big user constituency and large market
base, would be unable to use Google’s new feature. Google solved this problem by exploiting a
flaw (an exception) in Safari’s “no third-party cookie” policy. Safari allows third-party cookies
when a user submits an HTML form, Google surreptitiously and unlawfully created an invisible
form, which Google submitted any time a user clicked the “+1.” This triggered the Safari
exception, and, accordingly, permitted the creation of third-party cookies by Google Ads.

A Stanford University study exposed how Google used this end-run, backdoor gimmick
to create cookies that not only enabled the “+1” functionality but also set up the general Google
Ads tracking cookie. That general Google Ads tracking cookie monitors users’ browsing
behavior.

Google said they “didn’t anticipate that this [setting up the general Google Ads tracking
cookie] would happen,” and said they “now started removing these advertising cookies from
Safari browsers.”

I, STATEMENT OF STAGE OF THE PROCEEDINGS, LR. 7.1.3(¢.)\(1(©)

On June 12, 2012, the JPML issued an order pursuant to 28 U.S.C. § 1401 transferring

the MDL and associated actions to this Court.6 On July 27, 2012, pursuant to a stipulation

® While proposed executive committee members Keefe Bartels and Bartimus, Frickleton,
Robertson & Gorny moved for transfer to this district, proposed executive member Strange &
Carpenter moved the JPML for transfer to the Northern District of California where Google is
headquartered. The Moving Plaintiffs do not have standing alliances with one another, on this

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 9 of 27 PagelD #: 369

among counsel (“Stipulation”), this Court consolidated 22 of these actions with the MDL for all
pretrial purposes.’ See MDL D.I. 22.

Plaintiffs represented in the Stipulation that they anticipated filing a joint proposal for the
Court’s appointment of Lead Counsel, but, if the Plaintiffs’ counsel could not agree on an
organizational structure, Plaintiffs would file motions and other papers as appropriate, See MDL
D.L 22, ¥ 12.

IV. SUMMARY OF ARGUMENT, L.R. 7.1.3(e)(D@)

Moving Plaintiffs understand that a “district judge must protect the class’s interests by
acting as a fiduciary for the class.” Jn re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 302 Gd Cir.
2005). We share that fiduciary role and believe this proposed organizational structure and plans
for litigating and trying the case, fulfill it.

A. Dogga and Nobles Should be Consolidated with the MDL for All Pretrial
Purposes Pursuant to Fed. R. Civ. P. 42(a),

Consolidation pursuant to Rule 42(a) is proper when actions involve common questions
of law and fact. See MANUAL FoR COMPLEX LITIGATION (FOURTH) § 11.631, at 121-22 (2004)
(“MCL”); Dutton v. Harris Stratex Networks, Inc., Civ. No. 08-755, 2009 WL 1598408 (D. Del.
2009). Subdivision (a) of this rule was designed to encourage consolidations. See U.S. v.
Knauer, 149 F.2¢ 519, 520 (7th Cir. 1945), certiorari granted, 326 U.S. 714, aff'd, 328 U.S. 654,

reh'g denied, 329 U.S. 818, petition denied, 322 U.S. 834. This Court has broad discretion under

case or otherwise. In fact, these attorneys and firms independently filed their respective cases,
advocated divergent MDL transferee venues, and at times, opposed each others’ respective
positions up to and including at the JPML hearing at which the 28 U.S.C. § 1407 motion was
heard and adjudicated. In the ensuing weeks, however, much analysis and discussion occurred
among these attorneys. After careful consideration, they decided to collaborate, collectively
believing that would produce the best representation of Plaintiffs’ and other class members’
interests in this litigation.

7 Proposed lead counsel Strange & Carpenter and Keefe Bartels drafted this Stipulation to help
the organization of this MDL.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 10 of 27 PagelD #: 370

this rule to consolidate cases within this district, “balance[ing] considerations of efficiency,
expense, and fairness.” Resnik v. Woertz, 774 F. Supp. 2d 614, 624 (D. Del. 2011).

Courts have recognized that putative class actions are particularly well-suited for Rule
42(a) consolidation, Such consolidation expedites pretrial proceedings, reduces duplication,
avoids the need to contact parties and witnesses for multiple proceedings, and minimizes the
expenditure of time and money for all involved. See Vincent v. Hughes Air West, Inc., 557 F.2d
759, 773 (9th Cir. 1977). Consolidating class action suits simplifies pretrial and discovery
motions, class action issues, and clerical and administrative management duties. Consolidation
also reduces the confusion and delay that may result from prosecuting related putative class
actions separately. /d.

The Related Actions all allege identical claims related to Google’s alleged illegal
circumvention of privacy settings on Apple’s Safari browser. The Related Actions all name the
same defendant, Google Inc., and involve substantially similar factual and legal issues.
Consolidation is appropriate where — as here — there are actions involving common questions of
law or fact. Fed. R. Civ. P. 42(a); see also Johnson v. Celotex Corp., 899 F.2d 1281, 1284 (2d
Cir. 1990). The substantial overlap of the factual and legal issues in the Related Actions satisfies
that “common questions” test. No factual or legal predicate in either Dogga or Nobles mitigates
against consolidation of those cases with the 22 already consolidated. The plaintiffs in both

Dogga and Nobies consent to consolidation and join in this motion.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 11 of 27 PagelD #: 371

B. The Proposed Leadership Structure Is In the Best Interests of the Putative

Class

The Moving Plaintiffs propose a leadership structure that brings a depth of experience,

expertise, and resources to the prosecution of this complex class action while remaining

sufficiently nimble to provide the necessary manageability.

1,

(a)

(b)

2.

The Proposed Leadership Structure

An Executive Committee consisting of:

(i)
(ii)

(iii)

Keefe Bartels, LLC (Red Bank, NJ)

Bartimus, Frickleton, Robertson & Gory, P.C. (Jefferson City,
MO and Leawood, KS)

Strange & Carpenter (Los Angeles, CA)

A Plaintiffs’ Steering Committee consisting of:

(i)

(ii)

(iti)

(iv)
)
(vi)

David Straite, of Stewarts Law (London, UK; Leeds, UK; New
York, NY; and Wilmington, DE)

Jonathan Shub, of Seeger Weiss LLP (New York, NY;
Philadelphia, PA; Newark, NJ; and Los Angeles, CA)

Barry Eichen, of Eichen, Crutchlow, Zaslow
& McElroy, LLP (Edison, NJ and Red Bank, NJ)

William “Billy” Murphy, of Murphy, P.A. (Baltimore, MD)
Mark Bryant, of The Bryant Law Center, PSC (Paducah, KY)

Jay Barnes, of Barnes & Associates (Jefferson City, MO)

Liaison Counsel

Moving Plaintiffs also respectfully request that Plaintiffs’ Steering Committee member

Stewarts Law, through its Wilmington, Delaware office, be appointed Interim Liaison Counsel

for the Class.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 12 of 27 PagelD #: 372

3. The Benefits of the Proposed Structure

This case’s broad scope and inherent legal and factual complexity necessitate even more
than usual a sound case management structure and careful choices about the occupants of the
leadership spots. The Proposed Leadership Structure will best serve the interests of Plaintiffs
and the proposed plaintiff class. Leading commentators and the Manual for Complex Litigation
advise: “court[s] should be cognizant of the possibility that the class could benefit from the
combined resources and expertise of a number of class counsel, especially in a complex case
where the defendants are represented by a number of large and highly qualified law firms.”
Third Circuit Task Force Report on Selection of Class Counsel, 208 F.R.D. 340, 417 (2002)
(footnote omitted); see also MCL, § 10.221 (noting benefit to having multiple lead counsel in
large class action cases), For these reasons, federal district courts frequently approve multi-firm
leadership structures in complex class actions. See, e.g., Outten v. Wilmington Trust Corp., 281
F.R.D, 193, 199 (D. Del. 2012) (Robinson, J.) (‘Appointment of co-lead counsel with liaison
counsel... will not necessarily be “cumbersome” or “inefficient” and appointment of a single
firm is not always ideal.”); In Re Hydrogen Peroxide Antitrust Litig., 240 F.R.D, 163, 177 (E.D.
Pa. 2007) (appointing four-firm structure as co-lead counsel); Ja re Oxford Health Plans, Ine.
Sec. Litig., 182 F.R.D. 42, 46, 49 (S.D.N.Y. 1998) (approving multiple counsel arrangement,
finding pooling of resources and experience was advantageous given “magnitude” of the class
action and to “ensure that the litigation will proceed expeditiously against Oxford and the
experienced counsel it has retained to represent it”); Jn re DRAM Antitrust Litig., 2006 U.S. Dist.
LEXIS 39841 at *53 (N.D. Cal., June 5, 2006) (appointing three-firm structure as co-lead

counsel).°

Courts have also noted the “benefits of joint decision-making” afforded by multiple
representation in the class action context. See, e.g. Malasky v. [AC/Interactive Corp., 2004 U.S.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 13 of 27 PagelD #: 373

Not merely beneficial, the Proposed Leadership Structure here will prosper the informed,
aggressive prosecution and efficient management of this class action, which potentially involves
150 million class members. Believing, based on investigation, consultation with experts, and
analysis of the governing law that their claims are strong, the Moving Plaintiffs also know from
their other cyberspace privacy rights cases (e.g. In re Facebook Internet Tracking Litig., No.
5:12 md-02314 (N.D. Cal.) (Davila, J.) and Jn re Hulu Privacy Litig., No. C11-03764-LB (N.D.
Cal.) (Beeler, Mag. J.)), that this case will require the often intricate application of established
federal privacy rights statutes — the Wiretap Act, the Stored Communications Act and the
Computer Fraud and Abuse Act — and possibly state statutory and common law causes of action

to evolving cyberspace commercial practices.”

Moving Plaintiffs’ counsel are fully prepared
now to plead those complexities in a manner direct and clear, to obtain discovery demonstrating
why Google’s, PointRoll’s and potentially other defendants’ illicit tracking intentionally
captured private information in transit, triggering Wiretap Act liability.

Especially in light of the cutting-edge legal issues this case presents, no room for any
management inefficiency remains. Represented by one of the country’s largest and most
experienced defense firms, Google, flush with cash, is abundantly prepared to defend the case.
This will be one of the largest purported class actions in history. Discovery could involve

millions of pages of documents as well as multiple technical depositions, requiring

knowledgeable and experienced lawyers, with the help of experts, paralegals and staff, to

Dist. Lexis 25832, at *14 (S.D.N.Y. Dec. 21, 2004); Pirelli Armstrong Tire Corp. Retiree Med.
Benefits Trust v. LaBranche & Co., Inc., 229 F.R.D. 395, 420 (S.D.N.Y. 2004).

” See, e.g., Konop v. Hawaiian Airlines, Inc., 302 F. 3d 868, 874 (9th Cir. 2002) (“the
intersection of these two statutes [the Wiretap Act and the Stored Communications Act] ‘is a
complex, often convoluted, area of the law’” (quoting U.S. v. Smith, 155 F. 3d 1051, 1055 (9th
Cir. 1998)). See also Orin S. Kerr, Lifting the “Fog” of Internet Surveillance: How a
Suppression Remedy Would Change Computer Crime Law, 54 Hastings L. J. 805, 820 (2003)
(“[t]he law of electronic surveillance is famously complex, if not entirely impenetrable.”).

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 14 of 27 PagelD #: 374

establish review protocols and to ensure proper document analysis in a relatively short time.
This case will be expert-intensive. Extensive motion practice is virtually certain, on the
pleadings, procedural and merits issues, and discovery. The path to trial or settlement is unlikely
to be short or simple. Needless to say, these tasks will entail substantial financial commitments
that the proposed co-lead counsel can make and will share.

The Proposed Leadership Structure draws on the experience and expertise of a large
number of law firms, yet still provides the Court and Defendants with the convenience of a small
Executive Committee. The Moving Plaintiffs also propose to further streamline the case by
having a member of the Steering Committee experienced in digital privacy law (and one with an
office in Wilmington just a few blocks from the Court) perform the additional role of liaison
counsel to assist with filings and court appearances as needed. In this way, the Proposed
Leadership Structure combines a large number of attorneys with proven commitment to
responsible advocacy, and the convenience of a small Executive Committee and single Liaison
Counsel simplifying decision-making and communications with the Court and Defendants.”

C. Appointing Interim Class Counsel is Appropriate Under Rule 23(g) and Will
Protect the Interests of the Putative Plaintiff Class

Rule 23(g)(3) of the Federal Rules of Civil Procedure provides that a court “may
designate interim counsel to act on behalf of the putative class before determining whether to
certify the action as a class action.” Fed. R. Civ. P. 23(g)(3). Interim counsel is charged with
conducting pre-certification discovery, motion practice, and any settlement discussions on behalf
of the proposed class as well as the named representative. Note of Advisory Comm. on 2003

Amendment to Rule 23. Where, as here, multiple class actions are pending, appointment of

'? In addition to their expertise in this area, counsel for Moving Plaintiffs are a geographically
diverse group having firms in Wilmington, Los Angeles, London, Kansas City, Baltimore, New
York, Leeds, Philadelphia, Kentucky, Missouri and New Jersey.

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 15 of 27 PagelD #: 375

interim class counsel is necessary to protect the interests of class members because it “clarifies
responsibility for protecting the interests of the class during precertification activities, such as
making and responding to motions, conducting any necessary discovery, moving for class
certification, and negotiating settlement.” MCL, § 21.11.

D. Proposed Interim Class Counsel Will Fairly and Adequatcly Represent the
Interests of Plaintiffs and the Putative Class

Attorneys appointed to serve as interim class counsel “must fairly and adequately
represent the interests of the class.” Fed. R. Civ. P. 23(g)(4). Although Rule 23 does not
explicitly state what standards apply when appointing interim class counsel, courts have applied
the following factors from Rule 23(g)(1)(A): (1) the work counsel has done in identifying or
investigating potential claims in the action; (2) counsel’s experience in handling class actions,
other complex litigation, and claims of the type asserted in the action; (3) counsel’s knowledge
of the applicable law; and (4) the resources counsel will commit to representing the class. See
Outten, 28) F.R.D. at 197; Jn re LIBOR-Based Financial Instruments Antitrust Litig., CA. No.
1 1-MD-2262 (NRB), 2011 U.S. Dist. LEXIS 137242 (S.D.N.Y. Nov. 29, 2011) (the factors set
forth for appointing class counsel should also be considered when appointing interim class
counsel), No single factor is determinative; all factors must be considered. Advisory Committee
Notes (2003 Amendments). Nonetheless, as this Court has stated, “[e]xperience and knowledge
of the law is of the utmost importance when determining lead counsel.” Outten, 281 F. R. D. at

200,"

'! One might argue that this memorandum’s legal detail “tips the plaintiffs’ hand” to the
Defendant, demonstrating Counsel’s supposedly insufficient savvy to lead the case. But the
Court’s primary emphasis on a proposed leadership group’s “knowledge of the law,” see Outten,
281 F.R.D. at 200, requires Counsel to show the requisite legal knowledge. Defendants’ counsel
are top-flight lawyers highly experienced in cyberspace privacy rights cases, Surprising them
with case law is unlikely. Finally, the perhaps higher than usual level of legal detail here is

10

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 16 of 27 PagelD #: 376

Replete with the requisite “experience” and possessing highly detailed, experientially
tested “knowledge of the law,” the Moving Plaintiffs’ proposed leadership structure fully
satisfies each of these criteria. Beyond the usual chest-thumping “look what we have already
done” steps that prospective leadership lawyers often tout — button-pushing discovery requests,

rote disclosures, uncontested stipulations, and “T sat at the counsel table first?!”

— plaintiffs here
have gone beyond such steps. Moving Plaintiffs’ counsel have engaged and consulted with
experts, analyzed the legal claims and defenses in light of the tricky permutations of cyberspace
“transit” and “storage,” learned not just the contours but the substance of the rapidly evolving
law of the Wiretap Act and Stored Communications Act, and developed arguments to refute
Defendants’ inevitable arguments.

For example, Defendants are certain to make standing a centerpiece of their defense.
Handling this case, then, mandates intimate conversance, which Moving Plaintiffs’ counsel have,
with the intersecting principles in privacy cases of Art. TI] standing (see, e.g., Warth v. Seldin,
422 U.S. 490, 498-501 (1975)), statutory standing (see, e.g., Edwards v. First American Corp.,
610 F.3d 514, 517 (9th Cir, 2010), cert granted in part, 131 8. Ct. 3022 (2011), cert dismissed as
improvidently granted, 132 8. Ct. 2536 (2012), Alston vy. Countrywide Fin. Corp, 585 F.3d 753

(3d Cir. 2009)), and prudential standing (see, e.g., Joint Stock Society v. UDV North America,

Inc., 266 F. 3d 164, 179 (Gd Cir. 2001)).'° Counsel is prepared to handle any defense argument

partly necessitated by the declination of one group to accept the proposed leadership structure the
large majority supports.

'2 A variant of Chancellor Strine’s lament about the “filing Olympics” and “lead counsel
Olympics race.” See King v. VeriFone Hidgs., Inc., 994 A.2d 354, 355, 357-59 (Del. Ch. 2010).

13 Prudential standing is much less a concern when statutory standing is present because courts
presume that Congress attended to prudential standing principles when creating statutes
conferring standing. See, e.g., Joint Stock Society, 266 P.3d at 179 (Gd Cir. 2001) (Where
Congress has expressly conferred standing by statute, prudential standing concerns are

1]

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 17 of 27 PagelD #: 377

that statutory standing mandates a two-fold injury-in-fact requirement: an invasion of the right
conferred upon the plaintiff by the statute and some additional, usually monetary, harm. See,
e.g., Gaos v. Google, Inc., No. 5:10-CV-4809-EJD, 2012 WL 1094646, at *3 (N.D. Cal. Mar. 29,
2012) (“Google’s argument fails because the SCA provides a right to judicial relief based only
on a violation of the statute without additional injury”); see also Alston, 585 F.3d at 753 (RESPA
case; plaintiff need not demonstrate monetary damages for Art. IIT standing, because injury-in-
fact can result solely from invasion of statutorily-protected right) (citing Havens Realty Corp. v.
Coleman, 455 U.S. 363, 373 (1982) and Linda R. S. v. Richard D., 410 U.S. 614, 617 n.3
(1973)).

E. Brief Introduction to Proposed Leadership Firms

Experienced in large class actions and with substantial privacy rights litigation

experience, the proposed leadership firms have proven records of preparing and successfully

superseded.’”) (quoting Gen. Instrument, 197 F.3d at 87 (in turn citing Warth, 422 U.S. at 501)).
However, “Congress is presumed to incorporate background prudential standing principles,
unless the statute expressly negates them.” Joint Stock Society, 266 F.3d at 179 (citing Conte
Bros., 165 F.3d at 227 (in turn citing Bennett v. Spear, 520 U.S. 154, 163 (1997). In any event,
the concerns of prudential standing can seem more theoretical than real. See Lewis v. Alexander,
685 F. 3d 325, 340 (3d Cir. 2012) (discussing the three requirements: "Prudential standing
requires: (1) that a litigant assert his or her own legal interests rather than those of a third party;
(2) that the grievance not be so abstract as to amount to a generalized grievance; (3) and that the
Plaintiffs’ interests are arguably within the ‘zone of interests’ protected by the statute, rule or
constitutional provision on which the claim is based.” (citing Mariana v. Fisher, 338 F.3d 189,
205 (3d Cir. 2003)). Prudential standing includes the limiting principle that the plaintiff assert
his own interest not third parties’ interest. That principle seems largely encompassed in the
normative Art. [II “injury in fact” standing requirement that the plaintiff have suffered harm that
is actual or imminent, concrete and particularized, not just theoretical or speculative. Prudential
standing precludes litigation of “abstract questions” and “generalized grievances.” That
requirement, too, seems largely subsumed within the “actual injury” prong of Art. IIT standing as
well as the “redressability” prong. Prudential standing also requires demonstrating that the
plaintiff is within the zone of interests protected by the constitutional, statutory or other legal
provision at issue. Art. lII’s “traceability” requirement, linking the alleged “injury in fact” to the
defendant’s conduct, seems well up to the task, in most cases, of demonstrating satisfaction with
the prudential “zone of protected interests” prudential test. But those are questions for another
day, if at all.

12

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 18 of 27 PagelD #: 378

trying cases. These firms together bring strong backgrounds in both large MDL cases and
significant individual trial cases. While the attached Exhibits describe in much greater detail
each firm’s experience and expertise, the following brief summary demonstrates the strong
qualifications of the proposed leadership structure to serve the plaintiffs and absent class
members.

1. Keefe Bartels: Stephen Grygiel, a highly experienced trial and class action
lawyer, is currently serving on the Plaintiffs’ Steering Committee in the Jn re Facebook Internet
Tracking Litig., Case No. 5:12-md-02314 (EJD). He is centrally involved in briefing the
opposition to the Defendant’s Motion to Dismiss, preparing for the oral argument on that motion,
working with experts, and drafting discovery.’ The Keefe Bartels firm bio is attached as
Exhibit D.

2, Strange & Carpenter: Brian R. Strange, founder of the firm, has been appointed
to leadership in MDLs across the country’ and is one of the pre-eminent lawyers nationally in
internet and related privacy rights litigation. Mr. Strange is currently counsel in both the
Kissmetrics and Hulu cases concerning internet “cookies” and privacy issues and is intimately

familiar with the developing legal doctrines of cyberspace privacy law, as demonstrated by his

'4 See Exhibit B, Transcript at p. 21, Aug. 25, 2010 Oval Argument in Jn re Dollar Thrifty
S‘holder Litig., Consol. C.A. No. 5458-VCS (Hertz Merger} (Vice-Chancellor, now Chancellor
Leo V. Strine to Mr. Grygiel: “...look, you’re a very, very good lawyer.”)}; see also Exhibit C,
Transcript at 16-17, October 9, 2008 Oral Argument in Jn re Schering-Plough Corp.
Temodar/Intron Consumer Class Action, Case Nos. 10-3046 & 10-3047 (D.N.J.) (Hon. Stanley
R. Chesler, U.S.D.J. to Mr. Grygiel: “I will tell you, you’re very good”).

'S For example, Mr. Strange was recently selected as one of the members of plaintiffs’

leadership out of 16 applicants appointed to Plaintiffs’ Steering Committee in /a re Sony Gaming
Networks and Customer Data Security Breach Litig., MDL No. 2258, by the Honorable
Anthony J. Battaglia in the Southern District of California and was approved by Judge Jack
Zouhary to serve on the Plaintiffs’ Executive Committee in a consolidaied antitrust case, /n Re:
Polyurethane Foam Antitrust Litig., pending in the United States District Court for the Northern
District of Ohio, MDL No. 2196, considered one of the largest antitrust cases in the last 10 years.

13

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 19 of 27 PagelD #: 379

recent article “Privacy: Is it legal tracking or an illegal Wiretap?” published in the Advocate, July
2012. See Exhibit E. Mr. Strange’s knowledge of California law may be important in this case
against California-based Google to the extent California law applies class-wide. The Strange &
Carpenter firm bio is attached as Exhibit F.

3. Bartimus, Frickleton, Robertson & Gorny: Jim Frickleton, a member of the
American College of Trial Lawyers, is directly involved in numerous class actions. With his
partner, Chip Robertson (former Chief Justice of Missouri), Jim is currently heavily involved in
the privacy rights case described above, la re Facebook Internet Tracking Litig. The Bartimus,
Frickleton firm bio is attached as Exhibit G.

4, Stewarts Law: London-based Stewarts Law, the UK’s largest litigation-only firm
with more than 100 lawyers across four offices (London, Leeds, New York and Wilmington),
was recently appointed co-lead counsel in Jn re Facebook Internet Tracking Litigation in the
Northern District of California. Stewarts Law partner David Straite, based in Wilmington and
New York, has been active in pursuing digital privacy rights and has spoken frequently on the
topic, including interviews with BBC World News (London), Sky News (London) and Channel
10 (Tel Aviv), and a 30-minute podcast on the “Digital Detectives” show on the Legal Talk
Network. MIT’s “Technology Review” magazine last month called Mr. Straite “somewhat of a
pioneer” in digital privacy rights cases. The Stewarts Law firm bio is attached as Exhibit H.

5. Seeger Weiss: Jon Schub brings the enormous legal acumen, courtroom expertise
and resources of his top-tier firm to the group. Seeger Weiss has long been in the vanguard of
cutting edge legal cases, framing the law favorably for victims then discovering the facts that

produce outstanding results. The Seeger Weiss firm bio is attached as Exhibit I.

14

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 20 of 27 PagelD #: 380

6, Eichen, Crutchlow, Zaslow & McElroy: Barry R. Eichen, one of New Jersey’s
leading trial lawyers, recently tried and won a number of Average Wholesale Price cases against
pharmaceutical companies, obtaining millions of dollars in verdicts. Mr. Eichen is also heavily
involved in discovery and strategy issues as a member of the Steering Committee in the
Facebook tracking litigation. The Eichen, Crutchlow firm bio is attached as Exhibit J.

7. Murphy, P.A.: William H. (“Billy”) Murphy is one of the country’s most widely
respected lawyers. With an MIT undergraduate degree, several years on the bench in Maryland
state court, through his technical work on the Steering Committee with experts in the Facebook
tracking case, and his representation of clients such as Microsoft’s Bill Gates, Mr. Murphy
brings superior technical knowledge, courtroom skills and litigation judgment to the team. The
Murphy firm bio is attached as Exhibit K.

8. Bryant Law Center: Mark Bryant is one of the Southeast’s leading trial lawyers.
His ability to discover and organize facts into powerful arguments have produced tremendous
results for his clients in many different cases, including large and complex mass torts. The
Bryant Law Center’s firm bio is attached as Exhibit L.

9, Barnes & Associates: In addition to this action, Jay Barnes is heavily involved in
the Facebook tracking litigation. He also represented the plaintiffs in a successful consumer
protection class action against LegalZoom, Inc. The Barnes firm bio is attached as Exhibit M.

F, Proposed Leadership Group Fully Satisfies 23(g) Criteria

1. Counsel’s Work to Identify or Investigate Potential Claims.
A court considering appointment of lead counsel or interim class counsel should consider
the work counsel has done in the case. See, e.g., Harrington v. City of Albuquerque, 222 F.R.D.
505, 520 (D.N.M. 2004) (appointing class counsel who had “done significant work in [the]

case”). The Proposed Leadership Structure has substantially investigated, prepared and

1S

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 21 of 27 PagelD #: 381

positioned this case for a rapidly-filed Consolidated Class Action Complaint, initial disclosures,

and a proposed Discovery and Case Management Plan. Among other things the Proposed

Leadership Structure has:

Met with a number of experts regarding the case’s facts and legal theories;

Analyzed federal statutory claims, including the “in-flight” and “in storage” predicates of
ihe Wiretap Act and Stored Communications Act, respectively;

Analyzed potential state common law claims, including invasion of privacy, invasion
upon seclusion, trespass to chattels, as well as misrepresentation claims;

Analyzed potential state statutory claims, including under unfair business practices and
consumer protection statutes;

Identified the choice of law issues; and

Already started the process of coordinating discovery with counsel for class plaintiff in
the parallel state court action, Carandang v. Google Inc., Case No. CGC-12-518415 (Cal.
Super. Ct., County of San Francisco) (Kramer, J ),!° and have also coordinated with Jn
Pro Se Plaintiff Larry Sossin, who supports this motion.

2. Counsel’s Experience in Handling Class Actions, Other Complex
Litigation and Claims of the Type Asserted in this Case.

Exhibits B through M demonstrate that the proposed leadership group has vast successful

class action experience in leading large and complex class actions. Particularly well informed

through their direct and ongoing involvement in the pending internet and privacy cases

Facebook, Kissmetrics and Hulu cases, the Executive Committee is extremely well versed in the

'© Google has moved to stay discovery in the Carandang action, and oral argument is scheduled
for September 13, 2012. To the extent discovery is allowed to proceed in the California action,
Moving Plaintiffs are prepared to work with California counsel as soon as permitted by this

Court.

16

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 22 of 27 PagelD #: 382

ins and outs of the Wiretap Act, Stored Communications Act, the Computer Fraud and Abuse
Act, and state statutory and common law privacy rights claims. We have learned, working with

23 £6.

experts, about “session cookies,” “persistent cookies,” “flash cookies,” “dtr cookies” and
“referrer headers.” We can articulate the distinctions between Wiretap Act cases before and after
Congress deleted “wire communications in storage” from the “wire communications” definition,
putting wire communications and electronic communications on equivalent definitional footing.
We can identify why Personally Identifiable Information (“PII”) is valuable, and why its loss is a
compensable injury under many statutes and causes of action. We can distinguish cases saying
otherwise. See, e.g., Low v. Linkedin Corp., No. 11-cv-01468-LHK, 2012 WL 2873847, at *14
(N.D. Cal. July 12, 2012) (citing other cases). We can demonstrate why contrary case law is
better reasoned. See, e.g., Claridge v. RockYou, Inc., 785 F. Supp. 2d 855, 865 (N.D. Cal. 2011)
(“at the present pleading stage, plaintiff has sufficiently alleged a general basis for harm by
alleging that the breach of his PIT has caused him to lose some ascertainable but unidentified
‘value’ and/or property right inherent in the PIL’).

Beyond substantive privacy rights law, class action Jaw is crucial here. The proposed
leadership lawyers understand that In re Hydrogen Peroxide Antitrust Litig., 552 F. 3d 305 Gd
Cir, 2008) authorized a more searching merits examination at the class certification stage. We
also understand the limits on that inquiry. See, e.g. Behrend v. Comcast Corp., 655 F.3d 182,
190 (3d Cir. 2011) (Hydrogen Peroxide did not change rule that at class certification court is
“precluded from addressing any merits inquiry unnecessary to making a Rule 23
determination.”); id. at 199 (heightened Hydrogen Peroxide class certification inquiry no

mandate for “class certification hearings...to become actual trials” for resolving “factual

disputes”).

17

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 23 of 27 PagelD #: 383

Another substantial requirement of would-be leadership lawyers is a demonstrated
willingness and ability to forge consensus and negotiate proper compromises in organizing
leadership and allocating work.'? Moving Plaintiffs’ proposed leadership structure has the
support of all but a small group of plaintiffs’ attorneys.'® Counsel for the Moving Plaintiffs have
taken the lead to discuss and attempt a unanimous private ordering of counsel, and kept the
discussion fluid to provide all counsel a full and faiv opportunity to participate. Proposed interim
class counsel also organized the group Stipulation of Consolidation without prejudice to
anyone’s position on the leadership issue to ensure that consolidation progressed quickly even

while leadership discussions continued.

'7 Moving Plaintiffs have also already begun working with defense counsel, including, as

discussed above, drafiing the Stipulation of Consolidation.

'8 These involve Tycko & Zavareei LLP and a group organized by Ben Barnow & Associates.
Mr. Barnow declined to accept an offer to participate in the proposed leadership structure as a
member of the Steering Committee. Mr. Barnow argued his data breach cases provide support
for a bigger leadership role. However, data breach cases are largely negligence cases that
present quite different standing and damages issues. Data breach cases do not present the
Wiretap Act’s conundrum of the “linguistic -- but not a technological paradox” that “[t]raveling
the internet, electronic communications are often — perhaps constantly — both ‘in transit’ and ‘in
storage’ simultaneously.” Blumofe v. Pharmatrak, Inc. Gn re Pharmatrak Privacy Litig.), 329
F.3d 9, 21-22 (Ist Cir, 2003). Data breach cases do not generally entail the finely reticulated
statutory interpretation analyses, with competing canons of interpretation, the Wiretap Act case
law reflects. See, eg., U.S. v. Councilman, 418 F.3d 67, 75 (1st Cir. en bane, 2005) C[A]ny
expressio unius inference that can be drawn from the presence of the electronic storage clause in
one definition and its absence from another is in tension with a much more compelling — and
directly contrary — expressio unius inference from the same statutory provision...”). The
standard “consent” defense usually has no place in data breach cases involving negligent or
reckless handling or release of customers’ or clients’ private information.

18

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 24 of 27 PagelD #: 384

3. Counsel’s Knowledge of Applicable Law.

Along with their promised attack on standing, the Defendants will surely seek to make
dismissal hay out of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal,
556 U.S. 662 (2009). Moving Plaintiffs’ proposed leadership lawyers are well versed in these
central pleading standards cases and prepared to demonstrate the implications of the Third
Circuit’s and this Couri’s approaches to Twombly. See, e.g., Phillips v. Cty of Allegheny, 515
F.3d 224, 230 (3d Cir. 2008) (“[T]he Supreme Court never said that it intended a drastic change
in the law, and indeed strove to convey the opposite impression.”); Golod v. Bank of America
Corp., C.A. No. 07-cv-746-NLH, 2009 WL 1605309, at *1 (D. Del. June 4, 2009) (discussing
“liberal federal pleading rules” and employing traditional test: ““[ajlthough the Federal Rules of
Civil Procedure do not require a claimant to set forth an intricately detailed description of the
asserted basis for relief, they do require that the pleadings pive defendant fair notice of what the

330

plaintiffs claim is and the grounds upon which it rests.’” (quoting Baldwin County Welcome Ctr.
v. Brown, 466 U.S. 147, 149-50 n.3 (1984)).
4, Counsel Pledge Resources Properly to Represent the Class
The firms representing the Moving Plaintiffs collectively have a large number of talented
lawyers and pledge to commit all the lawyers necessary properly to represent the plaintiffs and
class. Work will be allocated at the correct levels to be done as competently, quickly and

efficiently as possible. All of the proposed leadership firms represented have the personal,

financial and technical resources successfully to handle this case.

19

Case 1:12-md-02358-JDW Document 28

Vv. CONCLUSION, L.R. 7.1.3()(1(G)

Filed 08/28/12

For the reasons set forth above, Moving Plaintiffs respectfully request that the Court

order consolidation of Nobles and Dogga with the MDL, appoint interim class counsel, and set a

deadline of Monday, October 22, 2012 for the filing of a Consolidated Class Action Complaint.

Dated: August 28, 2012
KEEFE BARTELS, LLC

/s/ Stephen _G. Grygiel
Stephen G. Grygiel (Del. Bar. No. 4944)
John E. Keefe, Jr.
Jennifer L, Harwood
170 Monmouth St.
Red Bank, NJ 07701
732-224-9400
serygiel@keefebartels.com

Counsel for Plaintiff Ana Yngelmo, Plaintiff

Larry Sossin and Proposed Executive Cominittee

Member

BARTIMUS, FRICKLETON,
ROBERTSON & GORNY, P.C.

‘sf James P. Frickleton
James P. Frickleton
Mary D. Winter
Stephen M. Gorny
Edward D. Robertson, Jr.
11150 Overbrook Road, Suite 200
Leawood, KS 66211
913-266-2300

Jinf@bflawfirm.com

Counsel for Plaintiff James Henry Rischar and

Proposed Executive Committee Member

20

Respectfully submitted,
STRANGE & CARPENTER

‘s/ Brian Russell Strange
Brian Russell Strange
Gretchen Carpenter
Keith Butler
12100 Wilshire Boulevard, Suite 1900
Los Angeles, CA 90025
310-207-5055
lacounsel@earthlink.net

Counsel for Plaintiff Lourdes Villegas and
Proposed Executive Committee Member

STEWARTS LAW US LLP

/s/ David A. Straite
David A. Straite (Del. Bar. No. 5428)
Ralph N. Sianni (Del. Bar. No. 4151)
Michele 8. Carino (Del. Bar. No. 5576)
Lydia E. York (Del. Bar No. 5584)
1201 North Orange Street
Wilmington, DE 19801
302-298-1200
dstraite@stewartslaw.com

Counsel for Plaintiffs Matthew Soble and Bert
Glaser, Proposed Steering Commitiee Member
and Proposed Interim Liaison Counsel

Page 25 of 27 PagelD #: 385

Case 1:12-md-02358-JDW Document 28 _ Filed 08/28/12 Page 26 of 27 PagelD #: 386

LICHEN, CRUTCHLOW, ZASLOW & SEEGER WEISS LLP
MCELROY LLP

/s/ Jonathan Shub
Jonathan Shub

/s/ Barry Eichen

Barty R. Eichen 1515 Market Street, Suite 1380
40 Ethel Road Philadelphia, PA 19102
Edison, NJ 08817 215-564-2300

732-777-0100 jshub@seegerweiss.com

beichen@nijadvocates.com
@nj Counsel for Plaintiff Lynne Krause and

Counsel for Plaintiff Ana Yngelmo, Plaintiff Proposed Steering Committee Member

Larry Sossin and Proposed Steering Commitiee

Member

MURPHY P.A, BARNES & ASSOCIATES
és/ William _H. Murphy_Jr. {sf Jay Barnes

William H. Murphy, Jr. Jay Barnes

One South Street, Suite 2300 219 East Dunklin Street

Baltimore, MD 21202
410-539-6500
billy. murphy@murphypa.com

Jefferson City, MO 65101
573-634-8884

JaybarnesS@gmail.com

Counsel for Plaintiff Bert Glaser and Proposed

Steering Committee Member Counsel for Plaintiff Brian Martorana and
Proposed Steering Committee Member

BRYANT LAW CENTER, PSC BERGMANIS LAW FIRM, LLC
‘sf Mark Bryant /s/ Andrew Lyskowski

Mark Bryant Andrew Lyskowski

601 Washington Street 380 W Hwy 54, Suite 201

P.O. Box 1876 P.O, Box 229

Paducah, KY 42002-1876 Camdenton, MO 65020

270-442-1422 573-346-2111

mark. bryant@bryantpse.com alyskowski@ozarklawcenter.com

Counsel for Plaintiff William G. Gourley and Counsel for Plaintiff Brian Martorana
Proposed Steering Commitiee Member

DAVID SHELTON PLLC MORGAN & MORGAN
og helion /s/ John ANen Yanchuris, Sr.

, John Allen Yanchunis, Sr.
Oxiord, MD 38° 201 N, Franklin Street, 7th Floor

. ; Tampa, FL 33602
david@davidsheltonplic.com 813-223-5505

Counsel for Plaintiff Alex Movitz jyanchinis@forthepeople.com
Counsel for Plaintiff Kenneth W. Heretick

21

Case 1:12-md-02358-JDW Document 28

KRISLOV & ASSOCIATES, LTD.

‘sf Clinton A. Krislov
Clinton A, Krislov
20 North Wacker Dr., Suite 1350
Chicago, IL 60606
312-606-0500
clint@krislovlaw.com

Filed 08/28/12

Counsel for Plaintiff Franchise Dynamics LLC

MEYER & LEONARD PLLC

‘sf Henry A. Meyer, Hi
Henry A. Meyer, ITi

116 E. Sheridan, Suite 207
Oklahoma City, OK 73104
405-702-9900
hameyer@mac.com

Counsel for Plaintiff Jacqueline Burdick
COHEN LAW GROUP, P.C.

/s/ Brian Scotti Cohen
2 Greenwich Office Park Suite 300
Greenwich, CT 06831
203-485-7525
brian@cohenlg.com

Counsel for Plaintiffs Robert Dogga
and Jose Bermudez

22

R. CHAMP CROCKER LLC

ésf R. Champ Crocker
R. Champ Crocker
PO Box 2700
Cullman, AL 35056-2130
256-739-5005
champ@champcrocker.com

Counsel for Plaintiff Stephen D. Landrum
THE TERRELL LAW GROUP

/s/ Reginald Von Terrell
Reginald Von Terrell
223 25th Street
Richmond, CA 94804
510-237-9700
reggiet2@aol.com

Counsel for Plaintiff Zetha Nobles

LAW OFFICES GF MARK J. BAIOCCHI

/s/ Mark J. Baiocchi
1755 S. Naperville Road
Suite 100
Wheaton, IL 60187
630-983-4200
mbaiocchi@baiocounsel.com

Counsel for Plaintiff Franchise Dynamics
LLC

Page 27 of 27 PagelD #: 387

